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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                                Case No. 8:14-cr-136-T-30TGW

   AARON EDWIN REMALEY



        PRELIMINARY ORDER OF FORFEITURE FOR SUBSTITUTE ASSET

          THIS CAUSE comes before the Court upon the United States of America’s

   Motion for a Preliminary Order of Forfeiture (Doc. 93) for the following real

   property, as a substitute asset in partial satisfaction of the defendant=s $284,250.00

   forfeiture money judgment:

          The real property, including all improvements thereon and appurtenances
          thereto, located at 13415 Lynnetree Lane, Riverview, Florida 33615, more
          particularly described as follows:

          Lot 27, Block 4, Colonial Hills – Phase 4, according to the map or plat
          thereof, as recorded in Plat Book 89, Page 14, of the Public Records of
          Hillsborough County, Florida.

          Parcel ID: U0131205OZ00000400027.0

          Being fully advised of the relevant facts, the Court hereby finds that a

   Forfeiture Money Judgment was entered against the defendant in the amount of

   $284,250.00 and that the United States is entitled, pursuant to 21 U.S.C. § 853(p)

   and the defendant’s plea agreement, to forfeit substitute assets to satisfy that

   money judgment.

          Accordingly, it is hereby:
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            ORDERED, ADJUDGED, and DECREED that for good cause shown, the

   United States= motion (Doc. 93) is GRANTED.

            It is FURTHER ORDERED that, pursuant to the provisions of 21 U.S.C. §

   853(p) and Rule 32.2(e)(1)(B) of the Federal Rules of Criminal Procedure, the

   defendant’s interest in the substitute asset identified above is hereby forfeited to

   the United States for disposition according to law.

            The United States shall credit the defendant’s forfeiture money judgment

   with the net proceeds from the substitute asset.

            The Court retains jurisdiction to address any third party claim that may be

   asserted in these proceedings, to enter any further order necessary for the

   forfeiture and disposition of such property, and to order any other substitute assets

   forfeited to the United States up to the amount of the forfeiture money judgment.

            DONE and ORDERED in Tampa, Florida, this 16th day of December, 2014.




   Copies furnished to:
   Counsel/Parties of Record
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